

Torres v Bogopa Serv. Corp. (2022 NY Slip Op 00834)





Torres v Bogopa Serv. Corp.


2022 NY Slip Op 00834


Decided on February 08, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 08, 2022

Before: Manzanet-Daniels, J.P., Oing, González, Shulman, Higgitt, JJ. 


Index No. 24362/16E Appeal No. 15259 Case No. 2021-02368 

[*1]Noraima Torres, Plaintiff-Appellant,
vBogopa Service Corp., Doing Business as Food Bazaar Supermarket, Defendant-Respondent, Ramos Cleaning and Maintenance, Inc., Defendant.


Friedman, Levy, Goldfarb &amp; Green, P.C., New York (Michael D. Ricchiuto of counsel), for appellant.
Gannon, Rosenfarb &amp; Drossman, New York (Lisa L. Gokhulsingh of counsel), for respondent.



Order, Supreme Court, Bronx County (Laura G. Douglas, J.), entered January 12, 2021, which granted defendant Bogopa Service Corp. d/b/a Food Bazaar Supermarket's motion for summary judgment dismissing the complaint as against it, unanimously affirmed, without costs.
Defendant made a prima facie showing that it neither created nor had notice of the slippery condition on the floor on which plaintiff allegedly slipped and fell (see Perez v River Park Bronx Apts., Inc., 168 AD3d 465 [1st Dept 2019]). Its employees testified that they had no knowledge of the condition. Plaintiff's deposition testimony that she passed through the same space minutes before the accident and did not observe any substance on the floor at that time establishes that the condition was not visible and apparent (see Polanco v Newmark &amp; Co. Real Estate, Inc., 172 AD3d 602 [1st Dept 2019]). In opposition, plaintiff failed to raise an issue of fact.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 8, 2022








